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  From:            Koenig, Michael (ATR)
  To:              Richard "Rick" Kornfeld
  Cc:              Call, Heather (ATR); Torzilli, Paul (ATR); Sweeney, Carolyn (ATR); Rogowski, Jillian (ATR); Butte, Laura (ATR);
                   Michael Tubach; Anna Pletcher; Brian P. Quinn; Bryan B. Lavine; David Beller; Megan Havstad; Megan Rahman;
                   Michael Feldberg; Julie Withers; Laura Carwile; Liz Prewitt; Caroline Rivera; John Fagg; Jim Backstrom; Craig
                   Gillen; Mark Byrne; Jennifer Derwin; Barry Pollack; Wendy Johnson; denniscanty@byrnenixon.com; Craig Gillen;
                   Barry Pollack
  Subject:         RE: US v. Penn et al.
  Date:            Monday, December 28, 2020 3:52:36 PM


   EXTERNAL EMAIL - USE CAUTION

  Rick,
  The government is aware of, has abided by, and will continue to abide by, its disclosure obligations
  under Brady, Giglio, Jencks, Rule 16, and the like. Importantly, however, the government’s
  obligations do not translate into a right for defendants to access everything in the prosecution file.
  United States v. Garcia-Martinez, 730 Fed. App’x 665, 677 (10th Cir. 2018). Your non-specific
  speculation that the redacted portions of the white papers “very well may contain, inter alia, Brady
  and/or Giglio materials” is an insufficient basis to justify your demand for fully unredacted versions.
  At best, it is a general request governed by the principles enumerated in Pennsylvania v. Ritchie, 480
  U.S. 39, 59 (1987) (“In the typical case where a defendant makes only a general request for
  exculpatory material under Brady v. Maryland, 373 U.S. 83 (1963), it is the State that decides which
  information must be disclosed.”), and more recently set forth in United States v. Nacchio, 05-cr-545,
  2006 WL 8439750, at *7 (D. Colo. Aug. 28, 2006) (“In the face of Defendant’s lack of specificity in his
  requests, the Government’s disclosure decisions control.”) (citing Ritchie, 480 U.S. at 59).
  Mike
  From: Rick Kornfeld <rick@rklawpc.com>
  Sent: Friday, December 11, 2020 10:00 AM
  To: Koenig, Michael (ATR) <Michael.Koenig@ATR.USDOJ.gov>
  Cc: Call, Heather (ATR) <Heather.Call@ATR.USDOJ.GOV>; Torzilli, Paul (ATR)
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  bpollack@robbinsrussell.com
  Subject: US v. Penn et al.
  Mike,
  On behalf of all Defendants and their counsel, I write to express serious concerns regarding
  the heavy redactions contained in the White Papers and other materials submitted by various
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  suppliers, and provided to the defense in discovery on December 1st. The government has
  heavily redacted these materials without providing a legal basis for doing so. This is
  particularly concerning in light of the fact that these materials are covered by the stipulated
  Protective Order entered by Judge Brimmer, and do not apparently contain the type of
  personal identifying information (SSNs, e.g.) the government typically redacts. Because we
  cannot, of course, compare the redacted versions to the originals, we cannot discern the
  government’s methodology in deciding what portions to redact and what portions to disclose.
  That said, there does not appear to be a consistent logic to the government’s redactions. The
  upshot of the missing portions of the White Papers is that these materials, which very well
  may contain, inter alia, Brady and/or Giglio materials, are useless to the defense. As you and
  your colleagues know, there are limited bases for redacting information in discovery to
  criminal defendants, and any concerns that led the government to redact these materials are
  sufficiently addressed by the Protective Order.
  Accordingly, we would ask the government to provide us with unredacted versions of these
  materials forthwith. In the alternative, please provide the legal bases for these redactions so
  that we may determine how to raise this issue with the Court.
  Best,
  Rick
  RICK KORNFELD
  Shareholder


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